Case 1:13-cv-02940-KAM-MDG Document 4 Filed 08/12/13 Page 1 of 1 PageID #: 11




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
HERMAN MANDEL,                                                        Civil Action No.: 13 CV 02940

                                   Plaintiff,
                 -against-
                                                                      NOTICE OF VOLUNTARY
ENHANCED RECOVERY COMPANY, LLC,                                       DISMISSAL PURSUANT
                                                                      TO F.R.C.P. 41(a)(1)(A)(i)

                                    Defendant.
------------------------------------------------------------------X

       Pursuant to F.R.C.P. 41(a)(1)(A)(i), Plaintiff HERMAN MANDEL by his counsel, hereby
gives notice that the above captioned action is voluntarily dismissed against the Defendant
ENHANCED RECOVERY COMPANY, LLC.

Dated: August 12, 2013
       Brooklyn, New York

For:    HERMAN MANDEL

By:__ /s/ Alan J. Sasson _____________
Alan J. Sasson, Esq. (AS8452)
LAW OFFICE OF ALAN J. SASSON, P.C.
1669 East 12 Street, 2nd Floor
Brooklyn, New York 11229
Phone:     (718) 339-0856
Facsimile: (347) 244-7178


SO ORDERED

By:_____________________________

Hon.____________________________, USDJ
